oe Honorable Judge simm, -

7-26-2020 © | : - ; - | : Cc - | -FILED-
AN 2 32021

- Kash Lee Kelly ~ Sentencing date ‘August 31st

 

: : Today’ 5 ; world | is sad, scary and extremely unstable Obviously, this is not news to you, your Honor or any oe
. Person that is alive or breathing. :

ot am a 67- -year- -old woman living outside of Minneapolis in in a town n called New Hope. } have a beautiful
daughter who is. a paralegal with a firm in downtown Minneapolis. A have a son. who has been.a Border . a

Agent i in Arizona and a Customs Agent on the. water.i in Puerto Rico for 3 years and just last week. Joes
transferred to Clearwater, Florida. Proud mother of both of. my children... Le am also o proud of Kash Lee. eae

Kelly and it would be an honor and privilege to call him my son.

aon Kashi is the poster child and prime example of Bad turns Good: ‘He » has worked hard at. : becoming a:

ay better man anda great role model for his, children. Kash i is exactly what the youth of today need and :

. obviously he thas been able to cross ‘over. the barriers of age. He has inspired me to try and HELP put. ore
- some PEACE back into this world. t will share my stony ina a minute. First, 1 need you to know v what Kash oo me
os represents to me & others. re uae woe aan BN

Truth B - - ae a aes - close wo

.

Re Kowledge 3 . HS ae ae 7. Kindness. ea
3. Communication oe 8. Reformed _

8 Transparency _ ae CEE . 9. Humility.

" 5. tove- es : 2 Aas 10. Intelligence

& cist OUR coe
"NORTHERN DISTRI ict r OF. INDIANA Sin des

7 1 am ‘concerned, your Honor, of what t Kash’s FUTURE looks like after August 31", His charge | is conspiracy on 3 : 2 - 5 7

oS to distribute narcotics. Heisa child from the hood — no. supervision, no chance for.a life as you. and |

: o o know it, ‘Gang. members wrapping. their. arms around his INNOCENT SOUL. He so regrets that life, but ito wae
OS ANaSs his destiny. Until NOW... He has.s so changed ar and has anew. v Destiny. He has proven this beyond an we
_ feasonable doubt. . Ue oo oe . ae

7 “To. refresh my memory:
oo Rehabiltation vs vs. Punishment

‘Rehabilitation gives one a a chance to learn about his/her debilitating problems and offers for one
- to change their. behavior i in order not to commit crimes. Rehab helps ease the offenders reentry
into society. :

~ Punishment (incarceration) puts the offender: in 1 the confines of a calli in order to think about the :
. crime > committed. _ ae ne a

Apparently, y your Honor, you z are holding i in your courtroom n Kash Lee © Kelly’ s future. It would be wrong of
me not to share with you Kash’s impact on people all over the world. | have worked in the legal system
and so appreciate the judicial system as complicated as it can be, At one time | owned a legal Process
-- Service Company for 8 years. Also, owner of Advocate Angels for Hire, where for 11 years i worked with

women in Divorce. Navigated the legal system to ensure a healthy outcome for all parties involved. | :

_- designed and created a law in Florida for Public Babysitting with the help of Rep. Jim Hill. Invited to sit.
and participate on legislative committees to discuss Education (I represented the gifted children). -

. ‘Having the opportunity to be exposed to the judicial system, | have seen many different outcomes to

court cases. Especially when | worked as an advocate for women in divorce. i told them to always ask for -
_ what you needed and nothing more. Do not t gouge the husband's eyes out. Nothing good comes of that. -

" Your Honor ~ feeling the same way right now for Kash. 1 believe Kash has done way more Rehab than : : oo
you or | could have every asked for anyone. What Good would incarceration do for Kash? American St

oe people need you, your Honor, to hopefully see what we all see in this young man. Give him the

opportunity to continue spreading the word of “UNITY”. “Please take a moment and watch these (3) Sn
. YouTube videos. You will understand then why Kash can speak to all ages and brings a message of unity, MESS ne
He addresses really Hard subjects with respect for all sides. He continues to say without communication es me

oe you cannot have peace.

| a LM Ex Gang Member speaks “When do: Black Lives Matters?" oo eee
2. Tell the truth.. Truth is BLM f Only Matters When Its White pli involved
3. ‘The No. Snitching Policy. - , vote

cos | mentioned to you that Kash has a major | ‘Influence 0 on me = - $0 here i is my story.

 

a \ was driving | in my car listening to Kash one e day and he was s talking about youth centers/community . cee

aS centers, Someone. had just made a donation. Apparently, : a nice sum of money and they wanted to be cee Bg

o anonymous. Donation was to Street Lights Unity ~ ~ Kash Kelly’ $ non-profit. | thought | would like too.

-. donate but] am not rich nor famous. | came up | with a plan or idea where all American People can Help oe ae
a “with rebuilding. America. | spent the last month putting the idea on paper. j met with my Mayor of New

a Hope (love the name Hope — New). Her name. is Kathi Hemken. She is in support of this endeavor. 1 will we

| be working with SCORE this week on creating amore precise | business plan, ‘Spoke to the Public.

Ee Relations Director of Communication and LLeglelative Affairs of the MN Lottery.’ We fe plan on, n talking again ae wees
ne this week, Her name is Erika Helvick. . . os vines

oer am a 1 very determined woman to see this plan go 9 through. tt wil hel repalr the n many Brokent trust.
- issues we have & ensure we start the Healing Process of America. : wa

/ - “Howes can America Heal without the words and positive vibes we get from Kash and a hand ful of others ou
who speak about helping to heal as opposed to those who continue to protest and riot, His passion and ee
Love for unity is unsurpassed by what he did asa scared young man from the hood. . 2

. . Once again, Judge simm =I would be proud to call Kash my son and just a as proud to call him my friend, - a
Geina MacDonald. - |
7640 49! Ave. N. #344
. New Hope, MN 55428

612-584-8433
- Copiesto:

“Iudge Philip p. Simm

on 5400 Federal Plaza .

-Suiteago0
a ‘Hammond, IN 46320, Ss

os "Mayor Thomas! McDermott, sf

$925 Calumet Ave.

~ Mammond, iN 46320 Bo cok,

Has Chief of Police

| John D Doughty.

oe 509 Douglas st.

ESS | Hammond, IN 46320. :

 

 

 
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